






NUMBER 13-01-205-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

________________________________________________________________


RODOLFO RUIZ , Appellant,


v.


THE STATE OF TEXAS, Appellee.

_______________________________________________________________


On appeal from the 214th District Court 

of Nueces County, Texas.

_______________________________________________________________

O P I N I O N

Before Justices Hinojosa, Rodriguez, and Castillo

Opinion Per Curiam



Appellant, RODOLFO RUIZ , perfected an appeal from a judgment entered by the  214th District Court of Nueces County,
Texas,  in cause number 93-CR-1541-CR .  Appellant has filed a motion to dismiss the appeal.  The motion complies with
Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed this

the 26th day of July, 2001 .


